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                          UNITED STATES DISTRICT COURT

                              DISTRICT OF CONNECTICUT



                                               :
                                               :
 JOSEPH VELLALI,                               :   CASE NO. 3:16-cv-1345 (AWT)
 NANCY S. LOWERS,                              :
                                               :
 JAN M. TASCHNER, and
                                               :
 JAMES MANCINI, individually and as            :
 representatives of a class of participants    :
 and beneficiaries on behalf of the Yale       :
 University Retirement Account Plan,           :
                                               :
      Plaintiffs,                              :
                                               :
 v.                                            :
                                               :
 YALE UNIVERSITY,                              :
                                               :
 MICHAEL A. PEEL, and
                                               :
 THE RETIREMENT PLAN FIDUCIARY                 :
 COMMITTEE,                                    :
                                               :
      Defendants.                              :




                                       JUDGMENT

        This action came before the Court for a trial by jury before the Honorable

Alvin W. Thompson, United States District Judge.

        Previously, on March 30, 2018, the Court entered an Order on Defendants’

Motion to Dismiss, which was granted in part and denied in part.

        On, October 21, 2022, the Court entered an Order on Defendants’ Motion for

Summary Judgment, which was granted in part and denied in part.

        The remaining issues having been duly tried, the jury returned its verdict on June

28, 2023 in favor of the defendants on all claims.
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      It is therefore;

      ORDERED, ADJUDGED AND DECREED that judgment is hereby entered

in favor of defendants Yale University, Michael A. Peel, and The Retirement Plan

Fiduciary Committee, and the case is closed.



      Dated at Hartford, Connecticut, this 13th day of July, 2023.


                                               DINAH MILTON KINNEY, Clerk


                                               By /s/ Linda S. Ferguson
                                               Linda S. Ferguson
                                               Deputy Clerk




EOD: 713/2023
